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                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                      TEL. 504-310-7700
CLERK                                                           600 S. MAESTRI PLACE,
                                                                        Suite 115
                                                               NEW ORLEANS, LA 70130

                               July 25, 2023


      No. 23-10718       VanDerStok v. Garland
                         USDC No. 4:22-CV-691


Dear Counsel,
The above referenced case has been scheduled for oral argument
on 09/07/2023. It will be held in New Orleans - En Banc
Courtroom at 9:00.
As arguing counsel, you are responsible for electronically
filing the Oral Argument Acknowledgment Form by no later than
August 14, 2023. To submit your form, log in to CM/ECF and
select the event ‘Oral Argument Acknowledgment Form Filed.’
If you have not electronically filed a "Form for Appearance of
Counsel," you must do so before filing the Oral Argument
Acknowledgment Form. You must name each party you represent,
See Fed. R. App. P. and 5th Cir. R. 12. The form is available
at https://www.ca5.uscourts.gov/appearanceform. Attorneys
appointed under the Criminal Justice Act are exempt from the
requirement to file a Form for Appearance of Counsel.
IMPORTANT: Please confer with all counsel on your side regarding
the order and division of time before submitting the form. This
step is critical to ensure you are providing the court with
accurate information. The court will not allow any changes
except in emergency situations.
To ensure that we can provide all pertinent materials to the
court before argument, we must receive any additional filings in
this office by noon on the workday immediately preceding the day
your case is scheduled for argument. Exceptions will be made for
emergencies only.
The Oral Argument Acknowledgment Form is available on our
website at https://www.ca5.uscourts.gov/oral-argument-
information/attending-oral-arguments. Also available on this
page are links to the ‘Court and Special Hearings Calendar’ and
‘Court Policy on Electronic Devices’.
Notice to Court Appointed Counsel: Please review for information
on CJA travel at https://www.ca5.uscourts.gov/oral-argument-
information/attorney-information/cja-travel-information.
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All questions regarding the scheduling and argument of this case
should be directed to the assigned courtroom deputy, Pam Trice
at 504-310-7633.

                               Sincerely,
                               LYLE W. CAYCE, Clerk
                               By: ________________
                               Pamela F. Trice, Calendar Clerk
                               504-310-7633

    Mr. William V. Bergstrom
    Mr. Richard Brent Cooper
    Mr. Dennis Daniels
    Mr. Chad Flores
    Mr. Sean Janda
    Mr. Stephen Obermeier
    Mr. Peter A. Patterson
    Mr. Brian Daniel Poe
    Mr. Matthew Joseph Smid
    Mr. David H. Thompson
    Ms. Abby Christine Wright
